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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                 Filed Electronically: July 13, 2018

 IDEKER FARMS, INC., et al.,                 )
                                             )
                 Plaintiffs,                 )     Case No.: 1:14-cv-00183-NBF
         v.                                  )
                                             )     Senior Judge Nancy B. Firestone
 UNITED STATES OF AMERICA,                   )
                                             )
                 Defendant.                  )


  UNITED STATES’ RESPONSE TO PLAINTIFFS’ COMBINDED REPLY TO THE
UNITED STATES’ RESPONSE TO PLAINTIFFS’ BRIEF REGARDING THE IMPACT
 OF ST. BERNARD PARISH ON PLAINTIFFS’ MOTION FOR RECONSIDERATION
AND PLAINTIFFS’ SUR-REPLY TO THE UNITED STATES’ REPLY IN SUPPORT OF
                  ITS MOTION FOR RECONSIDERATION

        The United States files this response to plaintiffs’ combined reply and sur-reply, dated

July 6, 2018. See Pls.’ Combined Reply to the United States’ Resp. to Pls.’ Br. Regarding the

Impact of St. Bernard Parish on Pls.’ Mot. for Recons. and Sur-Reply to United States’ Reply in

Supp. of its Mot. for Recons. (“Plaintiffs’ Sur-Reply”), ECF No. 447. Pursuant to the Court’s

June 21, 2018 Order, the United States limits its response to the new arguments raised by

plaintiffs. See Order dated June 21, 2018, ECF No. 446.

        Plaintiffs’ Sur-Reply adds new terminology to many of the same arguments regarding the

impact of St. Bernard Parish on this litigation. The United States does not address that new

terminology because the United States’ previous briefs already refute plaintiffs’ arguments and

because the Court plans to hold oral argument on the parties’ respective motions for

reconsideration. It is appropriate, however, to address plaintiffs’ new waiver argument.

        Plaintiffs mistakenly contend that the United States waived the right to argue that

plaintiffs’ claims fail because of their reliance on “inaction or failure to act,” instead of

“affirmative government acts.” St. Bernard Parish v. United States, 887 F.3d 1354, 1361 (Fed.
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Cir. 2018); Plaintiffs’ Sur-Reply at 1-2. This is untrue; it is always plaintiffs’ obligation to

establish that affirmative government action effected a claimed taking. Plaintiffs have not cited

any authority supporting the proposition that the United States can “waive” an affirmative

element of plaintiffs’ cause of action on which plaintiffs bear the burden of proof. Plaintiffs

raised the action-inaction issue in their first brief addressing the impact of St. Bernard Parish on

their motion for reconsideration, thus opening the door to whether plaintiffs’ relied on inaction

by the United States, instead of affirmative actions. See Pls.’ Reply to the United States’ Resp.

to Pls.’ Mot. for Recons. at 25-28, ECF No. 434. The United States responded to that

argument—showing that the Court had found that plaintiffs’ own evidence regarding increased

water surface elevations was based, in part, on the “failure to maintain” the BSNP. See United

States’ Resp. to Pls.’ Br. Regarding the Impact of St. Bernard Parish on Pls.’ Mot. for Recons. at

11, ECF No. 441 (quoting Ideker Farms, Inc. v. United States, No. 14-183L, 218 WL 1282417,

at *38 (Fed. Cl. Mar. 13, 2018)). The United States did not, and was not required to, separately

address plaintiffs’ impermissible reliance on “inaction or the failure to act” to prove causation in

the United States separate motion for reconsideration. Even so, plaintiffs have now had yet

another opportunity to address their reliance on “inaction or the failure to act,” choosing to

sidestep that issue with their unfounded waiver argument, instead of directly responding to the

evidence that plaintiffs did, in fact, impermissibly rely on “inaction or the failure to act” to

attempt to prove causation.




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Respectfully submitted July 13, 2018.
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